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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 INTERMOUNTAIN FAIR
 HOUSING COUNCIL,                              Case No. 1:10-cv-046-CWD

                    Plaintiff,                 ORDER OF DISMISSAL WITH
                                               PREJUDICE
        v.

 MANAGEMENT CORPORATION,

                    Defendant.


      This matter having come before the Court upon the parties’ Stipulation of

Dismissal (Dkt. No. 19), and good cause appearing,

      IT IS HEREBY ORDERED that the above matter is DISMISSED WITH

PREJUDICE with the parties to bear their own costs and attorney’s fees.

                                               DATED: February 3, 2011



                                               Honorable Candy W. Dale
                                               Chief United States Magistrate Judge




ORDER - 1
